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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THE NEW YORK TIMES COMPANY,                Civil Action No. 1:23-cv-11195-SHS

                     Plaintiff,            Hon. Sidney H. Stein

     v.                                    ORAL ARGUMENT REQUESTED

MICROSOFT CORPORATION, OPENAI,
INC., OPENAI LP, OPENAI GP, LLC,
OPENAI, LLC, OPENAI OPCO LLC,
OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, OPENAI
HOLDINGS, LLC,

                      Defendants.

DAILY NEWS, LP; CHICAGO TRIBUNE            Civil Action No. 1:24-cv-03285-SHS
COMPANY, LLC; ORLANDO SENTINEL
COMMUNICATIONS COMPANY, LLC;               Hon. Sidney H. Stein
SUN-SENTINEL COMPANY, LLC; SAN             ORAL ARGUMENT REQUESTED
JOSE MERCURY-NEWS, LLC; DP MEDIA
NETWORK, LLC; ORB PUBLISHING, LLC;
AND NORTHWEST PUBLICATIONS, LLC,

                     Plaintiffs,

     v.

MICROSOFT CORPORATION, OPENAI,
INC., OPENAI LP, OPENAI GP, LLC,
OPENAI, LLC, OPENAI OPCO LLC,
OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, OPENAI
HOLDINGS, LLC,

                      Defendants.

MEMORANDUM OF LAW IN SUPPORT OF OPENAI’S MOTION TO CONSOLIDATE
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    I.       INTRODUCTION
             The New York Times 1 and Daily News 2 lawsuits against OpenAI 3 and Microsoft are

functionally identical. Indeed, the Court has already related the two lawsuits because—in the

Daily News plaintiffs’ own words—all “claims arise from substantially similar acts,” and “the

basic legal theories, sources of liability, relief requested, basis of jurisdiction, and factual

allegations . . . are the same.” Daily News, ECF No. 3. Notably, the Daily News counsel making

these very representations is also counsel for the New York Times in its lawsuit. OpenAI

therefore moves to consolidate the New York Times and Daily News cases for discovery and

pretrial purposes, with the consolidated action proceeding on the Daily News case’s later

schedule. 4 Microsoft joins in this request and will file a separate statement of joinder.

             There is no real dispute over the benefits of consolidation, which promises consistent

rulings on overlapping discovery and merits issues, and the elimination of duplicative discovery

to alleviate significant burdens on the parties, witnesses, and the Court. Unsurprisingly, the New

York Times and Daily News plaintiffs agree. Their only disagreement concerns the schedule on

which the consolidated case should proceed.

         •   The Daily News plaintiffs do not object to consolidation, so long as the consolidated case

             schedule is based on a “modest” extension of about two months to the current New York


1
    New York Times Co. v. Microsoft Corp., Case No. 1:23-cv-11195-SHS (S.D.N.Y.).
2
    Daily News, LP v. Microsoft Corp., Case No. 1:24-cv-03285-SHS (S.D.N.Y.).
3
  In this brief, unless otherwise specified: (1) “OpenAI” refers collectively to defendants
OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI OpCo LLC, OpenAI
Global LLC, OAI Corporation, LLC, and OpenAI Holdings, LLC; (2) emphases were added to
quotations, while internal quotation marks, alterations, footnotes, and citations were omitted
from them; and (3) Malhotra Decl. cites to the accompanying Declaration of Paven Malhotra in
Support of Consolidation.
4
 OpenAI opposes consolidation if the consolidated case were put on the same schedule as the
New York Times action because, as discussed infra n.19, OpenAI would be severely prejudiced.



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          Times schedule, in which fact discovery ends on September 17, 2024. 5 In other words,

          the Daily News plaintiffs propose completing fact discovery in their case by November—

          notwithstanding the fact there are eight plaintiffs scattered across the country whose

          works comprise 145,220 entries in a dataset allegedly used to train an accused version of

          GPT. 6

      •   The New York Times does not oppose “coordination” but wants to stick to its current

          January 2025 summary-judgment deadline so that it can litigate fair use at the same time

          as the class-action plaintiffs in Authors Guild v. OpenAI Inc., Case No. 23-cv-08292-SHS

          (S.D.N.Y.). 7 The Times ignores that the deadlines in its case were set before it proposed

          trebling the number of works at issue; pending before the Court is the Times’s proposal

          to add 7 million new works (on top of 3 million existing works) into its litigation.

At bottom, the newspaper plaintiffs’ proposed schedules are infeasible and unworkable. Their

desire to litigate on the same schedule as the book authors who have filed separate, earlier suits

should not come at the cost of depriving OpenAI of the time needed to pursue and complete

discovery on a timeline commensurate with the expanded scope of the claims and number of

plaintiffs. OpenAI respectfully requests the Court grant the parties at least six months to

complete fact discovery in the consolidated newspaper cases.

    II.   LEGAL STANDARD
          Federal Rule of Civil Procedure 42(a) allows courts to consolidate cases that “involve a

common question of law or fact.” “[C]onsolidation of cases with common questions of law or

fact is favored to avoid unnecessary costs or delay[.]” Jacobs v. Castillo, 612 F. Supp. 2d 369,


5
     Malhotra Decl., Ex. 1; see also New York Times, ECF No. 112 (scheduling order).
6
    Daily News, ECF No. 1 (“Daily News Compl.”) ¶ 82.
7
    Malhotra Decl., Ex. 1.



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373 (S.D.N.Y. 2009). In Johnson v. Celotex Corp., the Second Circuit instructed district courts

that they “must consider” three factors in deciding whether to consolidate cases:

          (1) whether the specific risks of prejudice and possible confusion are overborne by the

          risk of inconsistent adjudications of common factual and legal issues;

          (2) the burden on parties, witnesses, and available judicial resources posed by multiple

          lawsuits; and

          (3) the length of time required to conclude multiple suits as a single one.

899 F.2d 1281, 1285 (2d Cir. 1990). 8 “The paramount concern is whether savings of expense

and gains of efficiency can be accomplished without sacrificing justice.” SS&C Techs. Holdings,

Inc. v. Arcesium LLC, 2024 WL 64781, at *3 (S.D.N.Y. Jan. 5, 2024). “District courts enjoy

substantial discretion in deciding whether and to what extent to consolidate cases.” Hall v. Hall,

584 U.S. 59, 77 (2018).

III.      ARGUMENT
          A.     Consolidation will ensure consistent adjudication of the extensive factual and
                 legal issues shared by the two cases.
          The striking similarities across the factual and legal allegations levied against OpenAI

weigh in favor of consolidating the discovery and pretrial phases of the cases, which would

eliminate the risk of inconsistent rulings on discovery scope or summary-judgment issues such as

fair use. As noted above, no party disputes that consolidation could be beneficial. And the Daily

News plaintiffs admit “there will be substantial overlap between the legal and factual issues

between the cases.” Daily News, ECF No. 3 at 2. The first Johnson factor favors consolidation.


8
  A fourth factor—“the relative expense to all concerned of the single-trial, multiple-trial
alternatives[,]” Johnson, 899 F.2d at 1285—can wait for another day because this Motion does
not, at present, seek a consolidated trial. See Espire Ads LLC v. TAPP Influencers Corp., 655 F.
Supp. 3d 223, 245 (S.D.N.Y. 2023) (“It is not necessary to determine at this time whether there
should be a consolidated trial.”).



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          Factual similarities. The pleadings in the New York Times and Daily News lawsuits

contain functionally identical factual allegations. 9 Specifically, all plaintiffs are newspaper

publishers. 10 All the allegedly infringed copyrighted works are journalistic articles, such as news

stories and editorial opinions. 11 And all the newspaper plaintiffs claim that OpenAI infringed by

allegedly using these copyrighted works to train generative AI models, which purportedly

“memorized” the works and generated infringing outputs in response to user prompts. 12 That the

specific copyrighted works at issue in the lawsuits differ does not alter the consolidation analysis

because the underlying factual allegations concerning the alleged infringement—i.e., how

OpenAI’s generative AI models were trained and operated—are the same. See, e.g., Constance

Sczesny Trust v. KPMG LLP, 223 F.R.D. 319, 322 (S.D.N.Y. 2004) (Stein, J.) (consolidating

cases where “the gravamen of the complaints in each of the related actions is the same”).

          Legal similarities. The newspaper plaintiffs assert the same causes of action against the

same Defendants. 13 Only one cause of action is different. The Daily News plaintiffs bring an

additional New York state-law trademark dilution claim, which accompanies the federal Lanham


9
  The New York Times has sought leave to amend its Complaint, but as the Times put it, the only
differences between the operative original Complaint and the proposed First Amended
Complaint “pertain to the exhibits to the FAC,” which “(1) correct errors in the identification of
copyright registration numbers for previously asserted works, and (2) [] add approximately 7
million additional works to the suit.” New York Times, ECF No. 118-1 at 1. At bottom, the
newspaper plaintiffs’ lawsuits are factually similar regardless of whether the operative pleading
in the New York Times matter is the original Complaint or the First Amended Complaint.
10
  See, e.g., New York Times, ECF No. 1 (“NYT Compl.”) ¶ 14; Daily News, ECF No. 1 (“Daily
News Compl.”) ¶ 12.
11
   See, e.g., NYT Compl. ¶ 2 (“Defendants seek to free-ride on The Time’s massive investment in
its journalism . . . .”); Daily News Compl. ¶ 48 (“Defendants’ actions threaten the Publishers’
continued efforts to provide American communities with quality, in-depth local journalism . . .
.”).
12
     See, e.g., NYT Compl. ¶¶ 92, 98, 108; Daily News Compl. ¶¶ 90, 96, 114.
13
     NYT Compl. ¶¶ 15–25, 158–204; Daily News Compl. ¶¶ 29–39; 190–249.



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Act trademark dilution claim that plaintiffs in both lawsuits assert. 14 But this extra claim is

irrelevant to the consolidation calculus because “New York [trademark dilution] law is similar”

to federal trademark dilution law, and the state-law claim does not add any unique issues to

litigate. Nat’l Acad. of Television Arts & Scis., Inc. v. Multimedia Sys. Design, Inc., 551 F. Supp.

3d 408, 425 n.9 (S.D.N.Y. 2021). 15

          The extensive similarities are underscored by the huge swaths of the Daily News

Complaint that are identical to the New York Times Complaint—which itself is mostly identical

to the proposed First Amended Complaint, see supra n.9—with minor non-substantive tweaks

and different plaintiffs’ names. 16 Such similarities are unsurprising given the overlap in counsel:

Rothwell, Figg, Ernst & Manbeck, P.C. represents both the New York Times and the Daily News

plaintiffs.

          Courts regularly consolidate comparable lawsuits. For example, a court consolidated a

copyright-ownership lawsuit with a separate lawsuit to determine a buyout price for the disputed

copyright ownership interests. Cornell v. Soundgarden, 2021 WL 1663924, at *1 (W.D. Wash.

Apr. 26, 2021). Despite key differences in the type of claims asserted and scope of available

relief, the Cornell court reasoned that consolidation was necessary because the copyright assets

lay at the heart of the lawsuits, all but one of the defendants were “parties to both actions,” and

the parties were “represented by the same counsel in both actions.” Id. at *2–3; see also


14
     Daily News Compl. ¶¶ 233–54; NYT Compl. ¶¶ 198–204.
15
   One element of a federal dilution claim is not required under a New York dilution claim: proof
that the plaintiff’s mark is famous. Nat’l Acad., 551 F. Supp. 3d at 425 n.9. So the New York
state claim does not add any legal elements not already found among the federal claim’s
elements.
16
  Compare Daily News Compl. ¶¶ 52–95, 139–41, 178–83, with NYT Compl. ¶¶ 55–97, 124–26,
148–53, and New York Times, ECF No. 118-4 (proposed First Amended Complaint) ¶¶ 55–97,
124–26, 148–53.



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Constance, 223 F.R.D. at 322 (consolidating nine securities actions due to “critical factual and

legal questions [] common to all the related actions,” despite “minor differences” in the factual

allegations asserted by the different plaintiffs).

          And as “both the [New York Times] action and the [Daily News] case require judicial

determinations concerning the same facts, it is quite possible that separate adjudication of these

claims would produce inconsistent results. This danger can only be avoided by consolidation.”

Bank of Montreal v. Eagle Assocs., 117 F.R.D. 530, 533 (S.D.N.Y. 1987); see also Internet Law

Libr., Inc. v. Southridge Cap. Mgmt., LLC, 208 F.R.D. 59, 61 (S.D.N.Y. 2002) (“Even in multi-

party litigation, courts have been quick to emphasize that the danger of confusion from

consolidation is largely overstated.”). In sum, the first Johnson factor weighs in favor of

consolidation.

          B.     Consolidation will alleviate the burden on parties, witnesses, and the Court.
          The second Johnson factor favors consolidation because defendants in both actions are

identical, and the discovery sought from OpenAI by all the newspaper plaintiffs will no doubt be

overlapping—not just written discovery but individual and corporate-representative depositions

too. See Franco v. Ideal Mortg. Bankers, Ltd., 2009 WL 3150320, at *7 (E.D.N.Y. Sept. 28,

2009) (“Due to the substantial overlap in parties, factual allegations, and legal issues, discovery

in these two actions will involve duplicate document production as well as likely duplicate

depositions.”); Internet Law, 208 F.R.D. at 61 (“The chief advantage of consolidation is that it

avoids the waste associated with duplicative discovery . . . .”). The concern is particularly acute

here because the same OpenAI witnesses are likely to be relevant in both cases. They should

only be deposed once; requiring “serial depositions” is “costly and burdensome.” In re Lincoln

Nat’l COI Litig., 2019 WL 7582770, at *2–3 (E.D. Pa. July 15, 2019) (denying one plaintiff’s




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request in a consolidated action to take successive deposition of a defense witness whom a

different plaintiff already deposed).

          In view of these overlaps, consolidating the cases for discovery and pretrial purposes

promises significant efficiencies for the parties and the Court. It is unsurprising that the Daily

News plaintiffs sought to have the same judge oversee both cases given the prospects for

efficiency. Why they stopped there, however, is unclear. They already observed that relating the

cases “would avoid duplicative efforts, expenses, and burdens on the Court.” Daily News, ECF

No. 3 at 2. Consolidation is therefore beneficial here—where “overlapping questions of law and

fact [are] presented”—because “litigating a multitude of separate actions would only ensure the

duplication of effort amongst parties and the needless expenditure of judicial resources.” Kaplan

v. Gelfond, 240 F.R.D. 88, 92 (S.D.N.Y. 2007).

          In fact, this Court and the Northern District of California have already consolidated

numerous class actions against OpenAI involving similar copyright issues. 17 The Northern

District of California even ordered “all counsel in the OpenAI cases” to “meet and confer further

such as to explore every avenue through which the discovery process (and depositions in

particular) in these cases may be streamlined and made more efficient,” ameliorating “concerns

about duplicative depositions on the same topics constituting an avoidable burden and a waste of

resources.” Order re: Third Discovery Dispute, In re OpenAI ChatGPT Litig., Case No. 3:23-cv-

03223-AMO, ECF No. 144 at 3 (N.D. Cal. May 24, 2024). Unfortunately, the order has so far

fallen on deaf ears; the plaintiffs in those pending New York and California class actions have

presented no proposal to coordinate discovery. Malhotra Decl., ¶¶ 7–8, Exs. 3–4. Consolidation



17
  See Authors Guild v. OpenAI Inc., Case No. 23-cv-8292-SHS (S.D.N.Y.); In re OpenAI
ChatGPT Litig., Case No. 3:23-cv-03223-AMO (N.D. Cal.).



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here, where the plaintiffs are all newspaper publishers, would help alleviate the burdens and

inefficiencies of litigating similar issues across numerous cases.

          C.     Placing the lawsuits on the same schedule as the later-filed Daily News case
                 would conserve resources and expeditiously resolve the matters without
                 sacrificing justice.
          Under the third Johnson factor, litigating the consolidated case on the same schedule as

the later-filed Daily News action would ensure that all parties—the newspaper plaintiffs and

OpenAI alike—have adequate time to complete discovery, while expeditiously resolving both

underlying lawsuits without sacrificing justice. It would be inappropriate, however, to litigate

the consolidated case on the earlier schedules based on the New York Times cases, as proposed

by the newspaper plaintiffs, which is an unworkable timeline with the millions of additional

works the Times’s First Amended Complaint puts at issue and the eight additional plaintiffs in

the Daily News case from whom OpenAI is entitled to discovery.

          The newspaper plaintiffs would not be prejudiced by the later schedule in Daily News.

The Daily News case was filed little over a month ago, and no case schedule has been set yet.

Although the New York Times matter has a case schedule, see ECF No. 112, the Times recently

moved for leave to file an amended complaint. The proposed First Amended Complaint would

triple the number of copyrighted works originally at issue in the New York Times lawsuit, adding

seven million works to bring the total up to ten million works. New York Times, ECF No. 118-1

at 1. Consequently, more time would be required to complete discovery associated with the

vastly expanded scope of the First Amended Complaint, if the Court permits amendment. 18

Even the Times tacitly concedes as much. In its motion for leave to amend, the Times claimed



18
   OpenAI does not oppose amendment so long as the New York Times case schedule is modified
to provide the additional time necessary to litigate a significantly broader case. See New York
Times, ECF No. 132 at 1.



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that only with respect to the “fair use question” would trebling the number of works at issue not

affect the set case schedule. New York Times, ECF No. 118-1 at 1. Taking the Times’s

argument at face value means that every other aspect of the case—fact discovery, expert

discovery, expert reports, dispositive motion practice—would nonetheless be impacted by the

First Amended Complaint. 19

          Courts regularly consolidate cases that are in different stages of litigation. “[S]hort of

cases ready for trial, cases at different stages of litigation are routinely consolidated. As such,

the fact that discovery has progressed further in . . . [one] action should not, standing alone,

prevent consolidation and may, in fact, even favor it. Since the two actions share issues of law

and fact, much of the discovery in the [one] action should be applicable to the [other] action.”

Internet Law, 208 F.R.D. at 62. In fact, the Internet Law court consolidated one case where the

parties had already engaged in eight months of discovery with another case where no discovery

had occurred. Id.

          But the state of discovery here is far less advanced than in Internet Law. The New York

Times has produced merely 2,707 documents in the nearly three months since OpenAI served its

first set of requests for production. Malhotra Decl., ¶ 5. Discovery associated with the seven

million additional copyrighted works in the First Amended Complaint has not begun and would


19
   Conversely, OpenAI would be severely prejudiced if the consolidated suit were placed on the
New York Times case schedule. Not only would the First Amended Complaint expand the scope
of necessary discovery far beyond what is currently contemplated, see New York Times, ECF No.
132, OpenAI would effectively have just over three months to start and finish its offensive fact
discovery of the Daily News plaintiffs. Cf. Cornell, 2021 WL 1663924, at *4 (“[T]the Court
finds Soundgarden Defendants’ request to consolidate the two actions under the current [more
expedited] case schedule in the Copyright Action would prejudice Plaintiffs. Soundgarden
Defendants assert the current expert disclosure deadline . . . and discovery deadline . . . provides
Plaintiffs adequate time to conduct discovery and prepare expert disclosures in the Buyout
Action. The Court disagrees. Plaintiffs only recently initiated the Buyout Action, and the Court
has not yet issued a scheduling order in that matter.”).



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not begin until the Court resolves the Times’s pending motion for leave to amend. And

discovery has not begun in the Daily News matter. Given the incipient state of discovery, putting

the consolidated case on the same schedule as the Daily News litigation makes the most sense.

          What would not make sense, however, is to litigate the consolidated case based on the

Daily News plaintiffs and the Times’s so-called “modest” extensions to the current New York

Times case schedule, which the Daily News plaintiffs say is two months and the Times leaves

undefined. 20 The Daily News plaintiffs are misguided in thinking that fact discovery into eight

different plaintiffs—whose combined works purportedly comprise 145,220 entries in the dataset

allegedly used to train one accused version of GPT 21—can wrap up between now and November.

          The Times is similarly misguided in believing that the original New York Times

deadlines—set based on the initial three million asserted works—merely require minor tweaking

because the proposed addition of seven million works does “little to alter the scope of the case,”

and under no circumstances could the deadlines be “decouple[d]” from the “determination of the

threshold fair use issue” in the consolidated class actions, where the summary-judgment deadline

is January 2025. 22 At minimum, the additional works would affect the fair use calculus, which

cannot be short-circuited by analyzing only “the body of works generally” as the Times

suggests. 23 Because the newspaper plaintiffs allege that OpenAI infringed through

“memorization” and generating infringing outputs, the nature of the outputs, not merely the


20
  In its reply brief in support of its motion for leave to amend, the New York Times noted that it
did not “oppose a modest extension to the discovery schedule” but did not specify how long.
New York Times, ECF No. 139 at 2. In a meet and confer call on June 12, 2024, the New York
Times counsel suggested “modest” could mean two-to-six months. See Malhotra Decl., ¶ 4.
21
     Daily News Compl. ¶ 82.
22
  New York Times, ECF No. 139 at 2, 5; Authors Guild v. OpenAI Inc., Case No. 23-cv-8292-
SHS, ECF No. 65 (S.D.N.Y. Jan. 31, 2024).
23
     New York Times, ECF No. 139 at 6.



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corpus of asserted works, will also be relevant to the fair-use inquiry. See, e.g., A.V. ex rel.

Vanderhye v. iParadigms, LLC, 562 F.3d 630, 639 (4th Cir. 2009) (considering the

“transformative nature” of the accused infringer’s end use of the allegedly infringed works in

finding fair use). Fair use, moreover, is merely one issue among many in these cases, and the

Court has set a single summary-judgment deadline in the New York Times matter and the

consolidated Authors Guild class actions to cover all issues in those cases. OpenAI should not

be forced to rush through discovery in an attempt to get every issue teed up for summary

judgment in January 2025 merely to cater to the Times’s wish not to fall behind the class action

lawyers in Authors Guild, who sued OpenAI months earlier than the Times.

                                               ****

          In sum, the Johnson factors weigh in favor of consolidating the New York Times and

Daily News lawsuits for discovery and pretrial purposes, and putting the consolidated suit on the

same schedule as the later-filed Daily News case.

IV.       CONCLUSION
          For the foregoing reasons, the Court should grant OpenAI’s motion to consolidate the

New York Times and Daily News lawsuits, with the consolidated case on the same schedule as

the Daily News lawsuit. OpenAI respectfully requests the Court grant the parties at least six

months to complete fact discovery in the consolidated New York Times and Daily News matters.




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                                     KEKER, VAN NEST & PETERS LLP
Dated: June 13, 2024

                                  By: /s/ Paven Malhotra
                                      ROBERT A. VAN NEST (pro hac vice)
                                      R. JAMES SLAUGHTER (pro hac vice)
                                      PAVEN MALHOTRA - # 4409397
                                      MICHELLE S. YBARRA (pro hac vice)
                                      NICHOLAS S. GOLDBERG (pro hac vice)
                                      THOMAS E. GORMAN (pro hac vice)
                                      KATIE LYNN JOYCE (pro hac vice)
                                      SARAH SALOMON (pro hac vice)
                                      633 Battery Street
                                      San Francisco, CA 94111-1809
                                      Telephone: 415 391 5400
                                      Facsimile: 415 397 7188
                                      rvannest@keker.com
                                      rslaughter@keker.com
                                      pmalhotra@keker.com
                                      mybarra@keker.com
                                      ngoldberg@keker.com
                                      tgorman@keker.com
                                      kjoyce@keker.com

                                     Attorneys for Defendants OPENAI, INC.,
                                     OPENAI LP, OPENAI GP, LLC, OPENAI,
                                     LLC, OPENAI OPCO LLC, OPENAI
                                     GLOBAL LLC, OAI CORPORATION,
                                     LLC, OPENAI HOLDINGS, LLC




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Dated: June 13, 2024                  LATHAM & WATKINS LLP



                                  By: /s/ Joseph R. Wetzel
                                      Joseph R. Wetzel
                                       joseph.wetzel@lw.com
                                      Andrew M. Gass (pro hac vice)
                                       andrew.gass@lw.com
                                      505 Montgomery Street, Suite 2000
                                      San Francisco, CA 94111
                                      Telephone: 415.391.0600

                                      Sarang V. Damle
                                       sy.damle@lw.com
                                      Elana Nightingale Dawson (pro hac vice)
                                      elana.nightingaledawson@lw.com
                                      555 Eleventh Street, NW, Suite 1000
                                      Washington, D.C. 20004
                                      Telephone: 202.637.2200

                                      Allison L. Stillman
                                       alli.stillman@lw.com
                                      1271 Avenue of the Americas
                                      New York, NY 10020
                                      Telephone: 212.751.4864

                                      Attorneys for OpenAI Defendants




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Dated: June 13, 2024                  MORRISON & FOERSTER LLP



                                  By: /s/ Joseph C. Gratz
                                      Joseph C. Gratz (pro hac vice)
                                       jgratz@mofo.com
                                      Vera Ranieri (pro hac vice)
                                       vranieri@mofo.com
                                      425 Market Street
                                      San Francisco, CA 94105-2482
                                      Telephone: 415.268.7000

                                      Allyson R. Bennett (pro hac vice)
                                       abennett@mofo.com
                                      Rose S. Lee (pro hac vice)
                                       rose.lee@mofo.com
                                      707 Wilshire Boulevard, Suite 6000
                                      Los Angeles, California 90017-3543
                                      Telephone: 213.892.5200

                                      Eric K. Nikolaides
                                       enikolaides@mofo.com
                                      250 West 55th Street
                                      New York, NY 10019-9601
                                      Telephone: 212.468.8000

                                      Attorneys for OpenAI Defendants




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